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April 11, 2024

Lyle W. Cayce, Clerk of Court
United States Court of Appeals for the Fifth Circuit
Office of the Clerk
F. Edward Herbert Building
600 S. Maestri Place, Suite 115
New Orleans, LA 70130

RE:   Chamber of Commerce, et al. v. CFPB, No. 24-10248
      In re: Chamber of Commerce, No. 24-10266
      Appellants’ Response to Request for Supplemental Briefing

Dear Mr. Cayce:

       We appreciate the Court’s careful consideration of the applicable recusal
rules and offer this letter in response to the Court’s order of April 8, 2024, which
requests supplemental briefing on whether a judge’s ownership interest in a non-
party large credit card issuer1 would be substantially affected by the outcome of
this case. See Memorandum to Counsel or Parties Below (“Briefing Order”), No.
24-10248, ECF No. 77 (Apr. 8, 2024). Under the applicable rules and precedents,
an ownership interest in a non-party will rarely (if ever) require recusal from mine-
run regulatory litigation like this one, and certainly would not require recusal in
this case.

       Judges are required to recuse based on ownership interests in non-parties
only when it is easily ascertainable that those interests will be substantially
affected by the outcome of litigation. That is not the case when the potential effect
on the ownership interest is indirect, speculative, or contingent, because judges are
not tasked with economic omniscience, but rather a duty to decide cases. For this
reason, courts across the country, including this one, have been unwilling to
require recusal in cases in which a judge owns stock in a company in the same
industry as a party to the case. That rule has been applied in rulemaking
1
 A larger card issuer is defined for these purposes as an issuer that, along with its
affiliates, has at least one million open credit card accounts. See Final Rule, 89
Fed. Reg. at 19128 n.3.
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challenges, as well. That result makes sense because the effect of a rule on a
specific regulated entity’s stock is wholly remote and speculative for multi-faceted
businesses operating in complex regulatory environments. This case demonstrates
this point, for the CFPB has repeatedly stated that the rule is likely to have limited
effect on the bottom line of issuers. Judges’ ability to fairly decide the cases
before them deserves more respect than a contrary rule would provide.

I.    Recusal is not required when the effect on a judge’s ownership interest
      in a non-party is remote or speculative.

       As an initial matter, the Court correctly noted that this is not a case in which
a judge could have a financial interest “in the subject matter in controversy or in a
party to the proceeding.” Canon 3C(1)(c), Code of Conduct for United States
Judges. The trade-association plaintiffs are seeking an injunction, not damages,
and they do not issue credit cards. As a result, recusal would be required only if a
judge “knows that . . . [he has] any other interest that could be affected
substantially by the outcome of the proceeding.” Id.; see also Comm. on Codes of
Conduct Advisory Op. No. 49 (finding “no impropriety in a judge serving in a
proceeding where a trade association appears as a party, even though the judge
owns a small percentage of the publicly-traded shares of one or more members of
the association, so long as that interest could not be substantially affected by the
outcome of the proceeding.”).2

       In a case involving a judge’s ownership of stock in a non-party company,
relevant authorities indicate that recusal is warranted under Canon 3C(1)(c) and 28
U.S.C. § 455 only if the judge knows that the outcome of the proceeding could
substantially affect the value of the company’s stock. See Advisory Opinion 57
(applying the standard whether the outcome would “substantially affect the value
of the interest”). And because the touchstones in this circumstance are the judge’s
2
 Advisory opinions of the Committee on Codes of Conduct (hereinafter “Advisory
Opinions”) are published in 2B Guide to Judiciary Policy (last revised Feb. 26,
2024), https://www.uscourts.gov/sites/default/files/guide-vol02b-ch02.pdf
[https://perma.cc/V2NS-6J7V].
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knowledge and otherwise whether a judge’s “impartiality might reasonably be
questioned,” 28 U.S.C. § 455(a), courts have held that recusal is not warranted
under the applicable standard unless the litigation’s substantial effect on the
judge’s interest is “easily ascertainable.” See Chase Manhattan Bank v. Affiliated
FM Ins. Co., 343 F.3d 120, 128-29 (2d Cir. 2003) (even a direct financial interest
in a party must be “easily ascertainable” to create the appearance of a conflict of
interest). As these authorities recognize, judges should not be placed under an
unrealistic and unreasonable burden to determine every conceivable effect on non-
parties.

       An indirect, speculative, or contingent effect on a judge’s ownership interest
in a non-party is unlikely to be easily ascertainable as substantially affecting an
ownership interest. See In re Placid Oil Co., 802 F.2d 783, 786-87 (5th Cir. 1986)
(“A remote, contingent, and speculative interest is not a financial interest within
the meaning of the recusal statute, nor does it create a situation in which a judge’s
impartiality might reasonably be questioned.” (internal citation omitted)). As the
Eighth Circuit explained, when assessing whether ownership of a non-party’s stock
warranted recusal, “the administratively daunting task of identifying such
tangential ‘interests’ outweighs any benefit of eliminating the remote possibility of
consequential bias.” In re Kansas Pub. Emps. Ret. Sys., 85 F.3d 1353, 1362 (8th
Cir. 1996).

II.   The effect on a judge’s ownership interest in a non-party is not easily
      ascertainable in most, if not all, challenges to agency rules.

       Applying these principles, courts across the country, including this one, have
been “unwilling to adopt a rule requiring recusal in every case in which a judge
owns stock of a company in the same industry as one of the parties to the case.” In
re Placid Oil Co., 802 F.2d at 786-87. In In re Placid, for example, this Court held
that a judge with investments in a non-party bank need not recuse himself from a
case with a different bank as a party, even though the case might affect the banking
industry. Other courts have reached similar outcomes. See, e.g., In re Kansas
Public Retirement System, 85 F.3d 1353, 1362 (8th Cir. 1996) (“[W]e are reluctant
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to fashion a rule requiring judges to recuse themselves from all cases that might
remotely affect nonparty companies in which they own stock. We believe such a
rule would paint with too broad a stroke.”).

       That principle—that recusal is not warranted for an ownership interest in a
non-party, even in the relevant industry, when a substantial effect is not easily
ascertainable—has been applied in the rulemaking context as well. In Department
of Energy v. Brimmer, 673 F.2d 1287, 1295 (Emer. Ct. App. 1982), the court held
that a judge owning stock in companies regulated by a federal rule did not need to
recuse himself from a challenge to that rule by similar companies. The case
involved a Department of Energy rule winding down a government program that
effectuated oil price controls. Several oil companies challenged the rule. The
Department moved to recuse the judge on the ground that he owned stock in four
other, non-party oil companies that participated in the same program and thus were
subject to the same rule. The judge declined to recuse, and the temporary court of
appeals (created by statute in the 1970s, with sitting judges appointed by the Chief
Justice) agreed, rejecting the argument that such ownership interests warranted
recusal. After concluding that there was no “direct” financial interest in the case,
the court explained that “[t]he question that remains is whether the judge had some
other interest that could be substantially affected by the outcome of the
proceeding.” The court concluded that the answer was no: “[t]here is a possibility
that the value of the shares held by the judge might be affected in some very small
way by the outcome of this case, but this would be such a slight effect as not to be
substantial.” Id. at 1295.

       The same result will be appropriate in the vast majority of, if not all,
regulatory challenges. Whether, and to what extent, the outcome of a particular
rulemaking challenge will affect a specific regulated entity’s (or its parent’s) stock
price is speculative. This is especially true where the challenged regulation affects
only a small portion of a regulated entity’s revenue base and the entity is in a
position to offset some or all of the costs or lost revenues caused by the new
regulation. See, e.g., Advisory Opinion 94 (“[E]ven if the suit were of that
magnitude, it might not have the potential to substantially affect the judge’s royalty
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interest if it is clear that the oil or gas could and would be marketed to others at a
comparable price in the eventuality that the purchaser/party before the judge no
longer remained a viable purchaser as a result of the suit.”). Multifaceted
businesses operating in complex regulatory environments can and do respond to
new regulations in a variety of ways. For these reasons, it is wrong to assume that
even hefty compliance costs or sharp decreases in revenue affecting an industry as
a whole will necessarily result in a change to the value of an individual entity’s
stock—let alone a substantial one. And the recusal rules do not require judges to
chart out the potential mitigating actions an entity might take and predict how
those actions will affect his or her investment. That analysis will usually, if not
always, fall well outside a judge’s expertise.

III.   The CFPB’s own conduct in this case confirms that the effect of the
       litigation on any ownership interest in a large credit card issuer is
       remote or speculative, not easily ascertainable.

       This case illustrates the point. It is not readily ascertainable whether the
outcome of this litigation will substantially affect an ownership interest in a large
credit card issuer. Indeed, the CFPB’s views regarding the effect of its own
regulation underscore that recusal is not warranted.

       Specifically, the CFPB has stated in a variety of ways that the rule is likely
to have limited effect on the bottom line of issuers; quite the contrary of an easily
ascertainable substantial effect on any, much less all, of their stock prices. First,
the CFPB argued below that, “[a]s for the large card issuers, they will be fine.”
ROA.286. Second, pointing to the size of the issuers and their revenue, the CFPB
asserted that “while Plaintiffs . . . complain that issuers will incur ‘millions of
dollars’ in compliance costs from printing new disclosures, that is hardly
compelling given that the 30-35 issuers actually affected by the Rule collectively
have over $10 trillion in assets and take in over $130 billion each year just in
interest and fees charged to credit card customers.” Opp’n to Emergency Mot. for
Inj. Pending Appeal 21, ECF No. 56 (citation omitted). And third, according to the
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CFPB, credit card late fees make up less than 10 percent of the total interest and
fees collected on the largest general-purpose mass-market credit card accounts.3

       The CFPB has also stated that larger card issuers have options to offset, at
least partially, the impact that the regulation will have on their revenues. See, e.g.,
Final Rule, 89 Fed. Reg. at 19192 (“[I]ssuers can mitigate the costs of the proposal
to some extent by taking other measures (e.g., increasing interest rates or changing
rewards).”); id. at 19197 (“Larger Card Issuers can offset losses to consumer
revenue to some extent by taking other measures … and the reduction in late fees
could affect consumer choices or market competition in ways that may create
benefits or costs to Larger Card Issuers.”); id. (“CFPB expects that collection costs
to Larger Card Issuers will not increase by more than fee income derived from any
additional late payments.”); id. at 19198 (“Larger Card Issuers can take other steps
to help reduce the likelihood of consumers missing payments, which would
mitigate potential costs of this final rule from increased delinquencies.”); id. (“The
recent profitability of consumer credit card businesses makes the CFPB expect the
market to see exceedingly few exits and no change in entries.”). Although the
CFPB is not entirely accurate in its understandings, it is possible that some issuers
may be able to offset some of the impact. But which issuers may do so and to what
extent is entirely speculative at this point.

      It is difficult at best to understand how, in light of these agency
representations, the CFPB could claim that it can be “easily ascertained” that there
3
  See CFPB, Credit Card Late Fees 13 (Mar. 29, 2022),
https://s3.amazonaws.com/files.consumerfinance.gov/f/documents/cfpb_credit-
card-late-fees_report_2022-03.pdf [https://perma.cc/F2MX-BSYQ]; CFPB, Credit
Card Late Fees: Revenue and Collection Costs at Large Bank Holding Companies
6-8 tbl.1 (Feb. 2023), https://files.consumerfinance.gov/f/documents/cfpb_credit-
card-late-fees-revenue-collection-costs-large-bank_2023-01.pdf
[https://perma.cc/MHX4-CFUS]; see also Credit Card Penalty Fees (Regulation
Z), 89 Fed. Reg. 19128, 19130 (Mar. 15, 2024) [hereinafter “Final Rule”] (“For the
Larger Card Issuers in the Y–14+ data, late fees represented 10 percent of charges
to consumers in 2020, but individual card issuers’ revenue from late fees varied.”).
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will be a substantial effect on the stock price—rather than revenue—of any
particular credit card issuer.

        The CFPB may argue that Appellants’ showing of irreparable harm from the
challenged rule suggests that the outcome of this litigation will have a “substantial
effect” on the stock price of issuers or their parent companies. That reasoning
would be legally and economically flawed. As a legal matter, “[i]t is not so much
the magnitude but the irreparability [of harm] that counts for purposes of a
preliminary injunction.” Canal Auth. v. Callaway, 489 F.2d 567, 575 (5th Cir.
1974). Consequently, a showing of irreparable harm based on compliance costs,
risks of enforcement, or even lost revenues is a showing that the challenger will
suffer harms that cannot be recovered from the government through ordinary
litigation, not that the challengers will see a decrease (let alone a substantial one) in
their stock price. As an economic matter, the fact that issuers will incur costs or
will suffer reduced revenues, even in substantial amounts, from a regulation does
not with any certainty mean that their stock price—which is a function of a
complex regulatory and macroeconomic environment as well as numerous business
decisions for large corporations—will be affected at all, let alone substantially.4
4
  Because a substantial effect is not easily ascertainable in this case, Appellants are
unable to offer a specific calculation or mathematical methodology. While courts
have generally refrained from mathematical calculations, the Committee on Codes
of Conduct and case law suggest that the degree of impact must be high—far
higher than any impact that could be reasonable predicted in this case. Discussing
the relevant canon, the Committee explained that “a $0.60 per month increase
would not have a substantial effect on a judge’s utility bill, but that the doubling of
a utility bill from $10 to $20 per month would be substantial.” Advisory Op. 94.
It would be highly speculative to conclude that even a 10% change in stock price
could arise from this regulation, let alone a 100% change. See also Pi-Net Int’l,
Inc. v. Citizens Fin. Grp., No. 12-355-RGA, 2015 WL 1283196, at *5 n.11 (D.
Del. 2015) (finding that $100,000 worth of shares losing $9.33 of value would
have “no potential effect on the value of a holding . . . that any individual investor
would notice”); cf. United States v. Lauersen, 348 F.3d 329, 336-37 (2d Cir. 2003)
(“[R]ecusal is required only where the extent of the judge’s interest in the crime
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       Finally, if recusal were required in regulatory challenges like this one—
based on a judge’s ownership interest in the stock of a non-party—courts and
parties alike would face an unworkable system. Judges are not financial analysts
equipped to forecast how any particular regulation will affect the stock price of
corporations operating in complex regulatory environments. The same is true for
many of the plaintiffs required to submit certificates of interested parties.
Moreover, questions would arise about how far the rule would extend. In this case,
for example, non-parties other than large credit card issuers could be impacted by
the rule—such as retailers that partner with issuers to offer store-branded cards to
customers, or small credit card issuers that face competitive pressure to lower their
late fees in the wake of the CFPB’s rule. Will plaintiffs be required to identify and
name these kinds of entities in certificates of interested parties, and will judges be
required to analyze how their ownership interests in each of them may be affected
by the outcome of the case?

       The uncertainty of such a system would introduce needless complexity into
routine litigation, incentivize gamesmanship, and undermine the integrity of the
judicial system. Neither the relevant statutes nor the canons of judicial conduct
contemplate these results. Accordingly, Appellants respectfully submit that recusal
would not be required in this case based solely on a judge’s ownership interest in a
non-party issuer. Judges, and their integrity, deserve more credit than that.




victim is so substantial, or the amount that the victim might recover as restitution is
so substantial, that an objective observer would have a reasonable basis to doubt
the judge’s impartiality.”), as amended (Nov. 25, 2003), adhered to on reh’g, 362
F.3d 160 (2d Cir. 2004), cert. granted, judgment vacated on other grounds, 543
U.S. 1097 (2005); In re Virginia Elec. & Power Co., 539 F.2d 357, 366-67 (4th
Cir. 1976) (explaining that the judge’s interest in the possible refund of up to $100
in utility costs depending on the outcome of the litigation was “so speculative” that
it was “clear that he had no ‘financial interest’ in the subject matter in
controversy”).
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      Thank you for the opportunity to provide briefing on this important issue.

Sincerely,


/s/

Michael F. Murray
of PAUL HASTINGS LLP

Counsel for Appellants
